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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES-GENERAL

Case No.: CV 18-5741-DMG (PLAx)                                                            Date: May 29, 2019

Title:    Lucas R., et al. v. Alex Azar, et al.


PRESENT: THE HONORABLE                   PAUL L. ABRAMS
                                         UNITED STATES MAGISTRATE JUDGE
         Christianna Howard                           courtsmart                                         N/A
          Deputy Clerk                            Court Reporter / Recorder                           Tape No.

ATTORNEYS PRESENT FOR PLAINTIFFS:                                   ATTORNEYS PRESENT FOR DEFENDANT:
         Rebecca Tarneja                                                   Jeffrey S. Robins
         Leecia Welch                                                      W. Daniel Shieh
         Megan Donohue                                                     Benjamin Moss
                                                                           David E. Pinchas, AUSA

PROCEEDINGS:               (TELEPHONIC DISCOVERY CONFERENCE)

The Court and counsel discuss discovery issues and the upcoming mediation. The Court will hold a further
telephonic conference on Wednesday, July 10, 2019, at 2:00 p.m. to discuss the parties’ progress in the
discovery process.            Counsel shall contact the courtroom clerk via email to
christianna_howard@cacd.uscourts.gov to advise whether they will be participating in person or telephonically.
If appearing telephonically, the courtroom clerk will provide call-in information.




cc:      Counsel of Record
                                                                                                              : 10

                                                                           Initials of Deputy Clerk      ch




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